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 3                              UNITED STATES DISTRICT COURT
 4                                      DISTRICT OF NEVADA
 5    MARIA RODRIGUEZ-MORFIN,                                  Case No. 2:19-cv-02177-GMN-VCF
 6                                          Petitioner,
              v.                                                          ORDER
 7
      D.W. NEVEN, et al.,
 8
                                         Respondents.
 9

10          Good cause appearing, Respondents’ Motion for Enlargement of Time (ECF No. 13) is
11   GRANTED. Respondents have until August 21, 2020, to answer or otherwise respond to the
12   petition for writ of habeas corpus in this case.
13          IT IS SO ORDERED.
14          DATED: July 8, 2020
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                                                              ________________________________
16                                                            GLORIA M. NAVARRO
                                                              UNITED STATES DISTRICT JUDGE
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